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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA              )    CRIMINAL NO.
                                      )
              v.                      )    1:21-cr-00397-TFH
                                      )
CHRISTIAN KULAS                       )    VIOLATION
                                      )
                        Defendant.    )    40 U.S.C. § 5104(e)(2)(G)
                                      )    (Parading, Demonstrating, or
                                      )    Picketing in a Capitol Building)



         DEFENDANT CHRISTIAN KULAS’ SENTENCING MEMORANDUM




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Dated: April 19, 2022
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I.     Introduction

       Christian Kulas’ life has been characterized by two recurrent themes: extreme personal

suffering and dedicated service to others. He has endured more pain over the arc of his short

existence than most people experience in a lifetime. He has also given more of himself in service—

in locations all around the world—than most his age have done.



                                                                       .
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       Christian deeply regrets participating in the January 6, 2021 events in the U.S. Capitol. He

has pled guilty and accepted responsibility for his conduct, and he experiences profound remorse

and shame for his actions every day. His participation in those events has caused him and his

loving family to receive an avalanche of vicious hate mail and threats, and has generated a stream

of intrusive media coverage, with drones flying over his family’s home and reporters and camera

crews repeatedly knocking on their door. His activities on January 6 have also damaged his

family’s business, and resulted not only in customers leaving the company, but also employees

who report they cannot deal with the hateful calls and emails they receive while working there.

       Despite enduring these extreme hardships, Christian has devoted much of his life to serving

others. He currently lifeguards and teaches swimming to young children. He has volunteered in

several service positions, including at a local emergency room, a hospice, and an orphanage in

India. In a tragic irony, at the time of the January 6 events, Christian would not have even been in

the United States but for the Covid pandemic, which forced him to return from the Indian ashram

where he had been living and working as a mendicant. Christian eagerly looks forward to resuming

his spiritual journey and serving others, as living and working in near-poverty in a remote corner

of the world were the only activities that have ever brought him peace and fulfillment.




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       Christian’s                                        take him out of the heartland of January

6, 2021 cases. Counsel is not aware of any other January 6 defendants

                                                                            that Christian does.

Surprisingly, the Government has informed counsel that it intends to recommend prison for

Christian. 1 But for someone as             as Christian, a sentence of imprisonment would be

disastrous.

                           Ex. S.



                                                   .




                                                           .




  We are disappointed to report to the Court that DOJ supervisors overseeing this case refused to
meet with undersigned counsel (even in a phone call) to discuss Christian’s
                                           . This is not typical for DOJ, and we cannot imagine a
more serious reason to meet with defense counsel then to discuss a defendant’s
                                                . DOJ supervisors claimed there were too many
January 6 cases pending to meet with individual defense counsel, which we found deeply
troubling.


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https://en.wikipedia.org/wiki/Jo%C3%A3o Teixeira de Faria#:~:text=Jo%C3%A3o%20Teixeir

a%20de%20Faria%20(born,surgeon%22%20and%20convicted%20sex%20offender.&text=On%

2020%20January%202020%2C%20Faria,third%20conviction%20of%20the%20accused.).




                                                                                as well as
              Volunteer and Paid Work




                                                            he was able to begin volunteering

at the Emergency Department of Evanston Hospital, which is part of the NorthShore University

Health System in Chicago. Ex. J at PROBATION-0000247, Ex. H at CKULAS0001235. The



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Clinical Nurse Manager who oversaw Christian’s work in the Emergency Department authored a

glowing letter of recommendation for him in 2018, praising the “minimal amount of time [he took]

to orient to the ED workflow,” and noting that he “quickly became a resource to the ED staff and

patients as he rounded on everyone and sought out opportunities to provide comfort or other patient

assistance.” Ex. J at PROBATION-0000247. She observed that “Christian willingly takes on tasks

without being asked,” stated that “[w]e regret losing Christian” as a volunteer, and concluded,

“[h]e truly cares about ensuring that patients, families, and visitors have the best possible

experience possible.” Id.; Ex. I at CKULAS0001236.

       Continuing his passion for helping others, in 2018 he worked as a Wilderness First

Responder and became licensed as a Certified Nursing Assistant. Ex. H at CKULAS0001235;

HEALTH CARE WORKER REGISTRY, ILLINOIS DEPARTMENT OF PUBLIC HEALTH (last visited April 15,

2022 https://hcwrpub.dph.illinois.gov/SearchResults.aspx?ps=0|christian||kulas). He also became

certified as a yoga instructor. Ex. K at CKULAS0001237.



                                                                                                 he

served others by volunteering at a hospice in San Antonio, Texas, Abode Contemplative Care for

the Dying. Ex. B at CKULAS0000008; Ex. H at CKULAS0001235.

       H.      Christian Begins His Life’s Calling: Working as a Mendicant in India



                                                                                                   .

Determined to contribute to society, Christian spent 2019 teaching yoga in the northern suburbs of

Chicago at Core Power Yoga and Lifetime Fitness. PSR ¶ 56. In the fall of 2019, looking to deepen

his spiritual practice, he moved to the Anand Prakash Ashram in Rishikesh, India. Id. His life there




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the Proposed Tax Hike Amendment,” a local Republican get-out-the-vote effort, and also

volunteered for a couple of Republican state and federal congressional campaigns. Id.

       Christian’s interest in Republican politics led him to want to travel to Washington, D.C.

and attend President Trump’s speech on the Ellipse on January 6, 2021. As he explained in his

plea agreement, Christian flew to Washington, D.C. with his brother and only friend, Mark Kulas,

Jr. The two             brothers attended President Trump’s rally, along with thousands of other

Trump supporters. ECF No. 26.

       Regrettably, Christian and his brother Mark succumbed to the mob atmosphere on the

Ellipse, where people were screaming, chanting, and moving en masse towards the Capitol. Instead

of leaving the rally and returning to their hotel following President Trump’s speech, Christian and

his brother Mark made the poor decision to walk with the crowd of thousands to the Capitol and

parade inside for approximately 24 minutes. ECF No. 26. They did not harm anyone, or break

anything, and quickly left. 3 The two flew back to Chicago the next day.

       J.      Christian’s Family and Their Family Business Receive Threats and Hate Mail
               Following the Events of January 6, 2021

       Once Christian had been identified as participating in the events of January 6, 2021,

Christian’s loving parents, as well as their cleaning business, began receiving vile threats, hate

mail, and vicious attacks over social media. See Exhibit M. At one point the family contacted their




3
  The Government states that after exiting the Capitol, Christian and Mark returned for
approximately 45 seconds. However, they did so because they were lost — they needed to ask
directions in order to return to their hotel. The Government does not dispute that their purported
“re-entry” lasted less than a minute, and only long enough for them to speak with someone briefly
and then leave.


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local police department for assistance, as people began sending hate mail to their home address,

which was extensively publicized in the media following Christian’s arrest. 4

       For example, one Instagram user stated about Christian’s mother, “With a mom named

‘Yoanna Kulas’ [] Wonder if his Czech grandparents were Nazi collaborators? Is he keeping up

with the family tradition?” Ex. M at CKULAS0001241. In fact, Mrs. Kulas’ family were members

of the Polish resistance in World War II, and Mrs. Kulas’ aunt was imprisoned in two concentration

camps—Ravensbruck and Buchenwald. Ex. O at CKULAS0001269 – 72. She was experimented

on by the Nazis following her capture, and their torture resulted in Mrs. Kulas’ aunt losing all of

her reproductive organs. Ex. O at CKULAS0001269. Her story is described in a history of the

Polish resistance called Zi Lat Walki, or From Years of Struggle, by Adam Kaluza and Jan

Kantyka. Ex. O at CKULAS0001269, 74.

       Another Instagram user posted about Christian’s mother, “American people should show

up to his mommy’s house with a gallow and raid mommas house[.]” Ex. M at CKULAS0001242.

Another posted that Christian’s mother is a “white supremacist bitch!!!” Ex. M at

CKULAS0001393.

       The Kulas family’s cleaning business also received numerous hateful emails and letters.

For example, one individual, using the email account Fuckyou@gmail.com, emailed the Kulas

family business, “Fuck you and your fascist traitor son. Thanks for exposing yourselves lol[.]” Ex.

M     at     CKULAS0001400.         Another      individual,    using    the     email     account



4
  Christian’s family also had to endure media drones flying over their home, and numerous
reporters with entourages of cameras repeatedly knocking on their front door. E.g., Charlie DeMar,
Christian Kulas Of North Suburban Kenilworth Charged In Jan. 6 Capitol Insurrection, CBS
CHICAGO (June 8, 2021 https://www.cbsnews.com/chicago/news/christian-kulas-kenilworth-
january-6-capitol-insurrection/). Christian’s family and this case have even received extensive
media coverage in Poland, where his grandmother and other relatives still live. See Ex. N at
CKULAS0001266.


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rudygullianisbuttplug@gmail.com, emailed the Kulas family business, “How does it feel to have

your inbred shit-stained son ousted as a domestic terrorist? You should be ashamed of yourselves

and I hope your business goes into bankruptcy.” Ex. M at CKULAS0001398.

       Another individual emailed the Kulas family business:

           Yes I am looking for a spoiled little cunt traitor insurrectionist to come and
           storm my house. I figured the spoiled little twat is good at storming
           buildings!! OH and by the way before he gets to prison the little bitch might
           want to cut his hair. Less for the inmates to grab onto when they are raping
           him in the ass!! Well done though Mark [Christian’s father] you must be so
           proud!!

Ex. M. at June 9, 2021 email. Another individual sent the Kulas family business an email entitled,

“Make Sure They Take Plenty of Lube,” and attaching a news article discussing the Kulas brothers’

guilty pleas. Ex. M at CKULAS0001392. The email said, “Hope they’re both sentenced to time in

the slammer – and get their assholes stretched to the limit while they’re there.” Id.

       As noted above, numerous social media posts mocked Christian’s appearance and long

hair, which he had grown out in India as a symbol of his spirituality. Ex. M. Worse, many

suggested he ought to be raped in prison. Id. When one social media user posted about Christian,

“Fuck this asshole,” another responded, “With his beautiful flowing hair, I’m sure that is exactly

what will happen in prison!” Ex. M at CKULAS0001264. These types of posts have been

particularly devastating for Christian and his family                                          .

       The hatred and vitriol Christian’s family has had to endure is wholly undeserved. Mark

Kulas Sr. and Yoanna Kulas are both Polish immigrants who each fled Poland’s repressive

Communist government in the 1980s and 1990s. Ex. Q. Mark Kulas Sr. fled after being tortured

in college because he was part of a pro-democracy student group that had organized a protest

against the Communist government. Id. He and his family escaped from Poland by receiving

permission to attend Father Maximilian Kolbe’s beatification in Rome. Id. From there, the family



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made their way through several European countries, and ultimately to the United States. Id. They

had to leave their belongings behind in Poland, and were not able to return for over a decade lest

they be arrested. Id.

        Upon arriving in America, Christian’s grandfather started a cleaning company on

Chicago’s north shore, which Christian’s father now runs today with Christian’s uncle. Id.; KULAS

MAIDS (last visited April 15, 2022 https://kulasmaids.com/). The Kulas family has grown the

business from nothing through seven-day work weeks and back-breaking labor. The company

provides jobs to many local women, most of whom are Hispanic and Ukrainian immigrants.

        Mr. and Mrs. Kulas love this country and everything it has done for them. Ex. Q. They are

the furthest thing from white supremacists. They love their sons, and have supported them through

all of their



                                                           Christian’s parents do not deserve the

barrage of disgusting and hateful threats, postings, letters, and email messages they have received

in connection with this case, and they have been viciously and vicariously punished for the

mistakes of their             sons.

III.    The Charged Conduct

        As noted above and in Christian’s plea agreement, Christian fully accepts responsibility

for entering the Capitol on January 6, 2021; for cheering on other rioters while in the Capitol; and

for walking inside the rotunda and other areas of the Capitol for 24 minutes. He never should have

done those things, and deeply regrets his actions. He also regrets the pain his actions have caused

his parents, and regrets that his behavior has contributed to the divisiveness currently plaguing this

country.




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       Without meaning to minimize in any way Christian’s actions or their wrongfulness, we

hope the Court can understand how easy it was for such a                                      young

man to be swept into a crowd of thousands that day.




January 6, 2021 represented one of the few times in his life Christian felt he “belonged” to a larger

group, and he became carried away in the energy and excitement of the moment, all while

surrounded by a cheering and forceful mob. See, e.g., Ex. U, Jenna Chang, The Role of Anonymity

in Deindividuated Behavior: A Comparison of Deindividuation Theory and the Social Identity

Model of Deindividuation Effects (SIDE), 6 THE PULSE UNDERGRADUATE J. OF BAYLOR U. (Fall

2008) (collecting research describing that people are more likely to “act aggressively or deviate

from acceptable social behaviors when they are in group settings than when they are alone”).

       Importantly, Christian did not engage in any violence within the Capitol, and he did not

hurt anyone or break anything. He is not and never has been part of any white supremacist or

extremist groups. Violence and mayhem are not among Christian’s values, and are inconsistent

with the peace and loving spirituality he worked so hard to cultivate following months of study

and prayer in India. Sadly, if Covid had not plagued the planet, Christian would likely not have

even been in the United States on January 6, 2021.

       Christian has never before engaged in behavior similar to that which resulted in his guilty

plea, and there is nothing in his history to suggest he ever will again.



                                                                                A Sentence Of Six
       Months’ Probation And Community Service Is Warranted



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       As set forth in 18 U.S.C. § 3553(a), the Court has wide discretion when sentencing a

defendant to ensure that the punishment “fit[s] the offender and not merely the crime.” Pepper v.

United States, 562 U.S. 476, 488 (2011) (internal citations and quotations omitted). This Court

should exercise that discretion here.

       Factors the Court must consider when sentencing Christian include the nature and

circumstances of the offense, and Christian’s history and characteristics. 18 U.S.C. § 3553(a). The

Court must also consider the need for the sentence imposed to reflect the seriousness of the offense,

to promote respect for the law, provide just punishment, and afford adequate deterrence to criminal

conduct. Id. The Court must also protect the public from further crimes of the defendant, and

provide him with needed training, medical care, or other treatment in the most effective manner.

Id. The Court must also consider the kinds of sentences available; the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty of similar

conduct; and the need to provide restitution to any victims of the offense.

       Applying 18 U.S.C. § 3553(a)’s sentencing factors to Christian and the particular facts of

his case, a term of imprisonment or lengthy sentence of probation would be inappropriate. Instead,

as the Probation Department recommends, a sentence of six months’ probation is a just and fair

sentence for Christian.

       A.      The Probation Department Recommends a Sentence of Six Months’ Probation

       As the PSR points out, Christian has pled guilty to Count Three of the Information, which

charges him with Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40

U.S.C. §§ 5104(e)(2)(G) and 5109(b). PSR ¶ 4. This is a petty offense. Id. ¶ ¶ 4, 67; 18 U.S.C. §

19. Thus, the United States Sentencing Guidelines do not apply. PSR ¶ ¶ 4, 65.




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       Probation has identified several factors that “warrant a downward departure,” including

Christian’s “continuous and positive employment history,” “lack of criminal history,” “the fact

that this offense is considered a ‘petty’ offense,” and Christian’s “minimal participation in the

offense.” PSR ¶ 81. Citing several factors, including                                    Probation

has recommended a term of 6 months’ probation as “sufficient to address the goals of sentencing.”

PSR Sentencing Recommendation at 2. 5

       Christian appreciates and agrees with Probation’s recommendation for leniency. Christian

also agrees that                                                          are factors that the Court

must also consider under 18 U.S.C. § 3553(a), and further adds that those factors strongly militate

in favor of leniency. See, e.g., United States v. Cunningham, 429 F.3d 673, 678 (7th Cir. 2005)

(vacating sentence and remanding for resentencing where court did not address defendant’s

mitigating psychiatric problems and substance abuse raised under 18 U.S.C. § 3553(a)); United

States v. Miranda, 505 F.3d 785, 796 (7th Cir. 2007) (same, and noting that “the courts do not

often encounter a person who has a documented history of” rare mental health conditions “that

predate any criminal conduct”).




5
  By contrast, the Government intends to recommend a sentence of two weeks’ imprisonment, 36
months’ probation, community service, and $500 restitution. This proposed sentence is far in
excess of what Christian needs or deserves, particularly given his
It is also an unlawful sentence: neither 18 U.S.C. § 3561(a)(3) nor 18 U.S.C. § 3551(b) authorize
a sentence of both imprisonment and probation for the same petty offense. See 18 U.S.C. §
3561(a)(3) (“(a) … [a] defendant who has been found guilty of an offense may be sentenced to a
term of probation unless …(3) the defendant is sentenced at the same time to a term of
imprisonment for the same or a different offense that is not a petty offense.”). See also 18 U.S.C.
§ 3551(b) (“(b) … [a]n individual found guilty of an offense shall be sentenced, in accordance
with the provisions of 3553, to ---(1) a term of probation …; (2) a fine…; or (3) a term of
imprisonment …”). The latter statute further provides that a “sentence to pay a fine may be
imposed in addition to any other sentence,” id., in contrast to the other two types of sentences –
imprisonment and probation – which are mutually exclusive.


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                                                                     They are also important factors

the Court should consider in deciding (1) the kind of sentence necessary to protect the public or

deter Christian from future crimes, and (2) whether Christian’s proposed sentence will result in

unwarranted sentencing disparities.

       B.      Christian’s “History and Characteristics”

       Christian’s “history and characteristics” support a six-month term of probation plus

community service. 18 U.S.C. § 3553(a)(1). As detailed above,




                                                                          However, it is also notable

for Christian’s lack of criminal history, and lack of any academic or other work disciplinary

history. Christian’s history is also notable for his selfless dedication to others, as evidenced by his

volunteer work in an emergency room; at a hospice for the dying; in India, where he helped the

elderly and orphans; and his volunteer political work. Even his paid work demonstrates care for

his community, as evidenced by his current work lifeguarding for and teaching swimming to

children.




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        Christian is not a young man who lays around idly playing video games or lazily attending

to his own needs and wants. He enjoys helping others, despite

                                This is evident from the many beautiful letters of support people

freely submitted to the Court on his behalf. For example, one individual describes Christian as

“one who cares about others, and wishes to contribute to the wellbeing of mankind by living a

peaceful and constructive life.” That individual continues, “he is devoted to peace; he sees his

life’s work as an opportunity to make the world a better place; and with genuine humility Christian

wishes to help others who are less able to care or speak for themselves.” Ex. P at

CKULAS0001276.

        Likewise, another individual writes that she was “impressed with [Christian’s] humility

and eagerness to serve.” Ex. P at CKULAS0001275. She describes him as “gentle, kind, respectful

and considerate. He was inquisitive and willing to share what he had learned during his time in

India.” Id.

        Those who have known Christian for most of his life say the same thing. A longtime family

friend writes that after knowing Christian for eighteen years, he and his brother are “two of the

kindest boys I have ever met. Christian has been studying Buddhism and literally wouldn’t hurt a

fly.” Ex. P at CKULAS0001277. Another family friend who has known the Kulas brothers for

twenty years describes them as “courteous” and “helpful” to the elderly. Ex. P at

CKULAS0001278. As that family friend wrote, “Christian has found the love of the outdoors and

sees the need to help those less fortunate than him – Evanston Hospital Emergency Department

volunteer, Abode Contemplative Care for the Dying Comforter, Sansar Gyaan Pathshala School

for the underprivileged youth in Uttarakh (India)[.]” Id.




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       We urge the Court not to let Christian’s 24 minutes in the Capitol obscure the history of

suffering and service that have characterized his life overall.

       C.      The Nature and Circumstances of the Offense

       The “nature and circumstances of the offense,” also a factor under 18 U.S.C. § 3553(a)(1),

support a sentence of six months’ probation plus community service.

       While Christian’s entrance into the Capitol was unquestionably a terrible lapse in

judgment, there is no doubt that he and                   brother were influenced by the screaming

mob of thousands around them. We point this out not as an excuse for Christian’s behavior on

January 6, 2021, but to explain why an otherwise gentle soul who had never harmed anyone

        would enter the Capitol and cheer on other rioters. See Chang, supra 17.

       Importantly, Christian’s conduct was fleeting—24 minutes that have brought countless

problems on himself and his family. He did not travel to D.C. to enter the Capitol, but rather, to

attend the rally on the Ellipse—the decision to enter the Capitol was made as a split-second

afterthought at the rally. He did not gain anything by entering the Capitol, and significantly, did

not harm anyone or anything while parading inside. Were the U.S. Sentencing Guidelines

applicable to this case, his “aberrant behavior” would qualify for a downward departure under

U.S.S.G. § 5K2.20 (authorizing a departure where defendant “committed a single criminal

occurrence or single criminal transaction that (1) was committed without significant planning; (2)

was of limited duration; and (3) represents a marked deviation by the defendant from an otherwise

law-abiding life.”). Notably, this downward departure provision urges courts to consider, among

other things, a defendant’s “(A) mental and emotional conditions; (B) employment record; (C)

record of prior good works; (D) motivation for committing the offense; and (E) efforts to mitigate

the effects of the offense.” U.S.S.G. §5k2.20, n. 3. All of these factors favor leniency for Christian.




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       D.      Protection of the Public

       While 18 U.S.C. § 3553(a)(2)(C) requires the Court to fashion a sentence that will protect

the public, Christian poses no danger to the public.




                                                                                         He has no

criminal history, and he has suffered extreme and widespread public shame and upheaval in his

life as a result of his participation in the events of January 6, 2021. He and his family have also

suffered from an avalanche of vicious and false personal attacks, as well as repeated and intrusive

media coverage, none of which are the norm for families of the average criminal defendant.

       Christian’s primary goal since 2020 has been to return to the remote mountains of northern

India and resume his isolated life of prayer, meditation, chanting, silence, and service to others.




                           A sentence of six months’ probation plus community service will punish

him appropriately for his crime, while simultaneously allowing him to resume his life of service

to others as a mendicant in India at the earliest possible opportunity.

       E.      Seriousness of the Offense and Deterrence

       A sentence of six months’ probation plus community service will adequately reflect the

seriousness of the offense and the need for deterrence, as required by 18 U.S.C. § 3553(a)(2)(A)-

(B). First, Christian’s criminal conviction, the international media blitz surrounding it, and the

horrific and false attacks inflicted upon his loving family have surely already served as a deterrent




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to him and to others. Second, Christian’s conviction for parading in the Capitol is punishment in

its own right. He now faces the lifelong stigma of being associated with that dark date in our

nation’s history. See United States v. Nesbeth, 188 F. Supp. 3d 179, 180 (E.D.N.Y. 2016) (urging

sentencing courts to consider the collateral consequences of criminal convictions).

       F.      The Need to Avoid Unwarranted Sentencing Disparities

       Sentencing Christian to six months’ probation plus community service will not result in

any unwarranted sentencing disparities proscribed by 18 U.S.C. § 3553(a)(6). Christian’s unique

                                 take his case out of the heartland of January 6, 2021 prosecutions,

and require a sentence that fits both the crime and his individual circumstances. Moreover,

Christian does not require extended Court supervision, given his lack of criminal history, lack of

opportunity to commit any kind of similar crime ever again, lack of bond violations, continued

employment, and ongoing                           . Christian has no desire to travel to Washington,

D.C. for the next presidential election, and does not need to be under supervision until then.

       While many January 6, 2021 defendants have been sentenced to prison, or to lengthy

periods of home confinement or probation, many of those defendants are more culpable than

Christian, and engaged in violence or property damage. Certainly, to our knowledge, none are as



     In short, Christian’s circumstances are unique. Requiring him to receive a sentence identical

to those of other January 6, 2021 defendants would not be just.

       G.      The Court Should Consider Alternatives to Prison and a Lengthy Probation
               Term

       For more than a decade, the U.S. Sentencing Commission, commentators, the Department

of Justice, and the courts have recognized that alternatives to incarceration warrant greater

consideration than they receive. As early as 2009, the Sentencing Commission issued a report on



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delay, if not deny, his return to India and service to others there. Gall v. United States, 552 U.S.

38, 48–49 (2007) (recognizing that probationary sentences “substantially restrict [defendants’]

liberty” and ability to leave the jurisdiction).

V.      Conclusion

        Christian feels genuine remorse for his actions on January 6, 2021. He understands this

Court will need to sentence him. He is respectfully requesting a sentence of six months’ probation

plus community service, consistent with what the Probation Department has recommended, so that

he may continue his life’s work of serving others, while also accepting responsibility for his

mistake in judgment, one which all evidence suggests will never be repeated.

        Six months’ probation plus community service will appropriately address the unique

circumstances present here, including                                                              ;

his otherwise law-abiding life; his service to many of the world’s most vulnerable individuals; and

the vicious and wholly unwarranted attacks inflicted upon him and his loving family.


                                                   Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY the foregoing DEFENDANT CHRISTIAN KULAS’

SENTENCING MEMORANDUM was served upon counsel of record automatically via

CM/ECF this 19th day of April 2022.




                                              s/ Rachel M. Cannon
                                              Rachel M. Cannon
                                              Steptoe & Johnson LLP
